B6A (Official Form 6A) (12/07)


         }
         b
         k
         1
         {
         S
         c
         h
         e
         d
         u
         l
         A
         -
         R
         a
         P
         r
         o
         p
         t
         y




 In re         LINDSEY HARDISON                                                                             Case No.       2:14-bk-01152
                                                                                                ,
                                                                             Debtor

                                      SCHEDULE A - REAL PROPERTY - AMENDED
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                   Nature of Debtor's           Wife,     Debtor's Interest in              Amount of
               Description and Location of Property                Interest in Property         Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

7732 E Albany Street, #52                                          Fee Simple                       -                  200,927.00              225,573.00
Mesa, AZ 85207

1319 E Halifax Street                                                                               -                  205,000.00              132,277.00
Mesa, AZ 85203




                                                                                                 Sub-Total >           405,927.00          (Total of this page)

                                                                                                        Total >        405,927.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
               Case 2:14-bk-01152-EPB Doc 12 Filed 03/25/14 Entered 03/25/14 12:02:42
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com
                                                                                                                                         Desc
                                                                                                                                         Best Case Bankruptcy
                                                                     Main Document Page 1 of 3
 B6C (Official Form 6C) (4/13)


          E
          }
          x
          b
          e
          k
          m
          1
          p
          {
          t
          S
          c
          h
          d
          u
          l
          C
          -
          P
          r
          o
          y
          a
          i
          s




  In re         LINDSEY HARDISON                                                                                  Case No.             2:14-bk-01152
                                                                                                      ,
                                                                                    Debtor

                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                             Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                             $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                  with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                            Specify Law Providing                        Value of                 Current Value of
                  Description of Property                                      Each Exemption                            Claimed                  Property Without
                                                                                                                        Exemption               Deducting Exemption
Real Property
1319 E Halifax Street                                                  Ariz. Rev. Stat. §                                150,000.00                       205,000.00
Mesa, AZ 85203                                                         33-1101(A)

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Wells Fargo Checking Account                Ariz. Rev. Stat. §                                                                   300.00                           205.38
Ending In 2770.                             33-1126(A)(9)

Household Goods and Furnishings
Living room furniture, dining room                                     Ariz. Rev. Stat. § 33-1123                            6,000.00                         1,000.00
furniture, bedroom furniture,
small kitchen appliances, washer,
dryer, television

Books, Pictures and Other Art Objects; Collectibles
Used Books.                                 Ariz. Rev. Stat. §                                                                   250.00                           100.00
                                            33-1125(5)

Wearing Apparel
Used Clothing.                                                         Ariz. Rev. Stat. §                                        500.00                           500.00
                                                                       33-1125(1)

Automobiles, Trucks, Trailers, and Other Vehicles
2012 Volkswagen Passat with 20,000          Ariz. Rev. Stat. §                                                               6,000.00                       11,401.00
Miles in Good Condition.                    33-1125(8)




                                                                                                      Total:               163,050.00                       218,206.38
   0      continuation sheets attached to Schedule of Property Claimed as Exempt
              Case 2:14-bk-01152-EPB                               Doc 12 Filed 03/25/14 Entered 03/25/14 12:02:42
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com
                                                                                                                                                        Desc
                                                                                                                                                        Best Case Bankruptcy
                                                                    Main Document    Page 2 of 3
 B6D (Official Form 6D) (12/07)


          }
          e
          b
          c
          k
          u
          1
          r
          {
          S
          d
          h
          C
          l
          a
          i
          m
          s
          D
          -
          t
          o
          H
          n
          g




  In re         LINDSEY HARDISON                                                                                              Case No.      2:14-bk-01152
                                                                                                                   ,
                                                                                                 Debtor

                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                O                                                             O    N   I
                                                            D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT           UNSECURED
           INCLUDING ZIP CODE,                              B   W              NATURE OF LIEN, AND                        I    Q   U                         PORTION, IF
                                                            T   J             DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                          DEDUCTING
          AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF             ANY
            (See instructions above.)
                                                                C                  OF PROPERTY
                                                            R
                                                                                  SUBJECT TO LIEN
                                                                                                                          E    D   D     COLLATERAL
                                                                                                                          N    A
                                                                                                                          T    T
Account No. xxx0004                                                 11/15/2012                                                 E
                                                                                                                               D

DESERT SCHOOLS FEDERAL                                              AUTOMOBILE LIEN
CREDIT UNION
                                                                  2012 Volkswagen Passat with
PO BOX 2945
                                                                - 20,000 Miles in Good
Phoenix, AZ 85062                                                 Condition.
                                                                       Value $                           11,401.00                        16,000.00               4,599.00
Account No. xxxxxx7055                                              Opened 11/01/12                  Last Active
                                                                    12/31/13
Harris N.a.
Bmo Harris Bank -                                                   Mortgage
Bankruptcy Dept.-Brk-1
                                                                - 1319 E Halifax Street
770 N Water Street                                                Mesa, AZ 85203
Milwaukee, WI 53202
                                                                       Value $                          205,000.00                       132,277.00                      0.00
Account No. xxxx4319                                                Opened 11/01/05                  Last Active
                                                                    12/09/13
Seterus Inc
14523 Sw Millikan Way St                                            Mortgage
Beaverton, OR 97005
                                                                - 7732 E Albany Street, #52
                                                                  Mesa, AZ 85207
                                                                       Value $                          200,927.00                       225,573.00             24,646.00
Account No.




                                                                       Value $
                                                                                                                       Subtotal
 0
_____ continuation sheets attached                                                                                                       373,850.00             29,245.00
                                                                                                              (Total of this page)
                                                                                                                         Total           373,850.00             29,245.00
                                                                                               (Report on Summary of Schedules)
              Case 2:14-bk-01152-EPB
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com
                                                                    Doc 12 Filed 03/25/14 Entered 03/25/14 12:02:42                                       Desc
                                                                                                                                                          Best Case Bankruptcy
                                                                     Main Document    Page 3 of 3
